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 6
 7                     IN THE UNITED STATES DISTRICT COURT
 8                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,           )
                                         )        No. 2:10-CR-0211-KJN
11                   Plaintiff,          )
                                         )
12             v.                        )
                                         )
13   VENNIE ABRAM,                       )
                                         )         RELATED CASE ORDER
14                   Defendant.          )
     ____________________________________)
15                                       )
                                         )
16   UNITED STATES OF AMERICA,           )
                                         )        No. 2:10-CR-0211-KJN
17                   Plaintiff,          )
                                         )
18             v.                        )
                                         )
19   VOLANEY HARRIS,                     )
                                         )
20                   Defendant.          )
     ____________________________________)
21                                       )
                                         )
22   UNITED STATES OF AMERICA,           )
                                         )        No. 2:10-CR-0211-DAD
23                   Plaintiff,          )
                                         )
24             v.                        )
                                         )
25   FELECIA EDWARDS                     )
                                         )
26                   Defendant.          )
     ____________________________________)
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 2                                       )
                                         )
 3   UNITED STATES OF AMERICA,           )
                                         )        No. 2:10-CR-0211-DAD
 4                   Plaintiff,          )
                                         )
 5             v.                        )
                                         )
 6   MELISSA GEDDES,                     )
                                         )
 7                   Defendant.          )
     ____________________________________)
 8                                       )
                                         )
 9   UNITED STATES OF AMERICA,           )
                                         )        No. 2:10-CR-0211-GGH
10                   Plaintiff,          )
                                         )
11             v.                        )
                                         )
12   KEVIN WALLACE,                      )
                                         )
13                   Defendant.          )
     ____________________________________)
14
15
16        The attorney for the government has filed a notice of related
17   cases stating that United States v. Abram and United States v.
18   Harris, 2:10-cr-211 KJN, United States v. Edwards and United States
19   v. Geddes, 2:10-cr-211 DAD and United States v. Wallace,
20   2:10-CR-0211 GGH, are related within the meaning of E.D. Cal Local
21   Rule 123.   Examination of the above matters, which all arise out of
22   a felony indictment in United States v. Roberson, et al., 2:10-cr-
23   211 FCD, reveals that they are related within the meaning of E.D.
24   Cal. Local Rule 123 for the reasons set forth in the defendant’s
25   memorandum.
26        The parties should be aware that relating the cases under
27   Local Rule 123 merely has the result that the actions are assigned
28   to the same judge; no consolidation of the actions is effected.

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 1   Under the regular practice of this court, related cases are
 2   generally assigned to the judge to whom the first filed action was
 3   assigned.   However, in this case, the matters will be reassigned to
 4   the magistrate judge who took the first misdemeanor plea.
 5        IT IS THEREFORE ORDERED that the actions denominated No. 2:10-
 6   CR-211-DAD and 2:11-CR-211-GGH are reassigned to Judge Kendall J.
 7   Newman for all further proceedings. Henceforth the caption on all
 8   documents filed in the reassigned cases shall be shown as No.
 9   2:10-CR-211 KJN.
10        IT IS FURTHER ORDERED that the Clerk of the Court make
11   appropriate adjustment in the assignment of criminal cases to
12   compensate for this reassignment.
13        IT IS SO ORDERED.
14
15   Dated: April 18, 2011              _______________________________________
                                        FRANK C. DAMRELL, JR.
16                                      UNITED STATES DISTRICT JUDGE
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